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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        JIM A. ALERS,
                                   7                                                       Case No. 22-cv-03916-DMR
                                                       Plaintiff,
                                   8
                                                v.                                         SUA SPONTE JUDICIAL REFERRAL
                                   9                                                       FOR PURPOSES OF DETERMINING
                                        ROBINHOOD FINANCIAL LLC, et al.,                   RELATIONSHIP OF CASES
                                  10
                                                       Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          On July 5, 2022, this action was transferred from the United States District Court for the

                                  14   Southern District of Florida to this District. Pursuant to Civil Local Rule 3-12(c), the court sua

                                  15   sponte refers this case to Judge Yvonne Gonzalez Rogers to determine whether it is related to In re

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                                  16   Robinhood Order Flow Litigation, 20-cv-09328 YGR.
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                                  17          IT IS SO ORDERED.                                        TA

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                                  18   Dated: July 8, 2022
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                                  20                                                                 Donna M. Ryu
                                                                                                                     . RyuJudge
                                                                                                  United States Magistrate
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